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                       UNITED STATES DISTRICT COURT
9
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
     JIMMY WILEY,                              )   Case No. 2:10-cv-05890-CAS -VBK
11
                                               )
12   Plaintiff,                                )   FIRST AMENDED COMPLAINT
13                                             )   FOR VIOLATION
            vs.                                )   OF FEDERAL FAIR DEBT
14
                                               )   COLLECTION PRACTICES ACT,
15   CREDIT SOLUTIONS CORP., a                 )   ROSENTHAL FAIR DEBT
     corporation; and MICHAEL                  )   COLLECTION PRACTICES ACT,
16
     JOPLIN, an individual                     )   AND INVASION OF PRIVACY
17                                             )
18
     Defendant.                                )
     ________________________________
19
                             I. INTRODUCTION
20          1. This is an action for damages brought by an individual consumer for
21
     Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C.
22

23   §1692, et seq. (hereinafter “FDCPA”), and the Rosenthal Fair Debt Collection
24
     Practices Act, Cal Civ Code §1788, et seq. (hereinafter “RFDCPA”), both of
25

26   which prohibit debt collectors from engaging in abusive, deceptive, and unfair
27
     practices. Ancillary to the claims above, Plaintiff further alleges claims for
28




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1    invasion of privacy arising from intrusion upon seclusion and public disclosure of
2
     private facts.
3

4                                   II. JURISDICTION
5
           2.      Jurisdiction of this Court arises under 15 U.S.C. §1692k(d).
6

7                                     III. PARTIES
8
           3.      Plaintiff, Jimmy Wiley (“Plaintiff”), is a natural person residing in
9
     Los Angeles County in the state of California, and is a “consumer” as defined by
10

11   the FDCPA, 15 U.S.C. §1692a(3) and is a “debtor” as defined by Cal Civ Code
12
     §1788.2(h).
13

14         4.      At all relevant times herein, Defendant, Credit Solutions Corp.
15
     (“Defendant CSC”) was a company engaged, by use of the mails and telephone,
16

17
     in the business of collecting a debt from Plaintiff which qualifies as a “debt,” as

18   defined by 15 U.S.C. §1692a(5), and a “consumer debt,” as defined by Cal Civ
19
     Code §1788.2(f). Defendant regularly attempts to collect debts alleged to be due
20

21   another, and therefore is a “debt collector” as defined by the FDCPA, 15 U.S.C.
22
     §1692a(6), and RFDCPA, Cal Civ Code §1788.2(c).
23

24         5.      At all relevant times herein, Defendant, Michael Joplin (“Defendant
25
     Joplin”) was owner of Defendant CSC. As an officer, shareholder and/or director
26
     of Defendant CSC, Defendant Joplin was responsible for the overall success of
27

28   the company. Defendant Joplin is a “debt collector” as defined by the FDCPA, 15



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1    U.S.C. §1692a(6), and RFDCPA, Cal Civ Code §1788.2(c): he materially
2
     participated in collecting debt by occupying a position of critical importance to
3

4    Defendant CSC’s business; as the owner of Defendant CSC, he exercised control
5
     over the affairs of a debt collection business; and he was regularly engaged, albeit
6

7    more often indirectly than directly, in the collection of debts through His
8
     involvement in Defendant CSC’s affairs and Defendant Joplin continued to play a
9
     key role in maintaining and expanding Defendant CSC’s debt collection activities
10

11   throughout the time in question.
12
                            IV. FACTUAL ALLEGATIONS
13

14         6.     At various and multiple times prior to the filing of the instant
15
     complaint, including within the one year preceding the filing of this complaint,
16

17
     Defendant contacted Plaintiff in an attempt to collect an alleged outstanding debt.

18         7.     On or about May 2010, Defendant contacted Plaintiff’s mother in
19
     North Carolina, in an attempt to collect an alleged outstanding debt, disclosing
20

21   the existence of an alleged debt owed by Plaintiff without expressly requested to.
22
           8.     On at least one occasion, Defendant contacted Plaintiff before 8:00
23

24   a.m. in connection with an attempt to collect an alleged outstanding debt.
25
           9.     On at least one occasion, Defendant contacted Plaintiff after 9:00
26
     p.m. in connection with an attempt to collect an alleged outstanding debt.
27

28




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1           10.   On average, Plaintiff received from Defendant, more than two
2
     collections calls per day, more than five collections calls per day, more than ten
3

4    collections calls per week, and more than twenty collections calls per month.
5
            11.   Defendant has misrepresented the character, amount, or legal status
6

7    of the alleged debt, including but not limited to, attempting to collect three times
8
     the original amount owed.
9
            12.   On at more than once occasion, Mr. Henderson, an employee of
10

11   Defendant, contacted Plaintiff and used obscene and profane language towards
12
     Plaintiff.
13

14          13.   On at least one occasion, Defendant contacted Plaintiff’s mother,
15
     threatening that non-payment of the alleged debt would result in a legal action
16

17
     taken against Plaintiff and possible arrest of Plaintiff.

18          14.   Defendant has implied or said that non-payment of the alleged debt
19
     would result in a wage garnishment, seizure or lien of Plaintiff’s property, and/or
20

21   a legal action against Plaintiff.
22
            15.   On at least one occasion, Plaintiff requested that Defendant provide,
23

24   in writing, verification of the alleged debt.
25
            16.   Despite Plaintiff’s requests, Defendant sent Plaintiff a letter
26
     threatening to report the alleged debt on Plaintiff’s credit report, when in fact,
27

28   Defendant has and continues to report the alleged debt on Plaintiff’s credit report.



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1          17.        Defendant’s conduct violated the FDCPA and the RFDCPA in
2
     multiple ways, including but not limited to:
3

4                a)   In connection with an attempt to collect an alleged debt from
5
                      Plaintiff, contacting a third party for purposes other than obtaining
                      location information (§1692b & §1692c(b));
6                b)   In connection with an attempt to collect an alleged debt from
7                     Plaintiff, providing the identity of Defendant to a third party without
                      such information being expressly requested (§1692b(1) &
8
                      §1692c(b));
9                c)   Disclosing to a third party the existence of the debt allegedly owed
                      by Plaintiff (§1692b(2) & §1692c(b));
10
                 d)   Communicating with a single third party more than once in
11                    connection with an attempt to collect an alleged debt from Plaintiff
12                    (§1692b(3) & §1692c(b));
                 e)   Communicating with Plaintiff at times or places which were known
13
                      or should have been known to be inconvenient for Plaintiff,
14                    (§1692c(a)(1));
                 f)   Causing Plaintiffs telephone to ring repeatedly or continuously with
15
                      intent to harass, annoy or abuse Plaintiff (§1692d(5));
16               g)   Failing to disclose the callers individual identity in a telephone call
17
                      to Plaintiff (§1692d(6));
                 h)   Failing to disclose Defendants true corporate or business name in a
18                    telephone call to Plaintiff (§1692d(6));
19               i)   Placing (a) telephone call(s) to Plaintiff without disclosure of the
                      caller's true identity or a registered alias name along with the name
20
                      of the agency authorizing the call (Cal Civ Code §178811(b));
21               j)   Engaging in conduct the natural consequence of which is to harass,
22
                      oppress, or abuse Plaintiff (§1692d));
                 k)   In connection with collection of a debt, using or threatening to use
23                    violence or other criminal means to harm the physical person,
24                    reputation, or property of Plaintiff (§1692d(1));
                 l)   In connection with collection of a debt, using obscene or profane
25
                      language directed at Plaintiff (§1692d(2))
26               m)   In connection with collection of a debt, using language the natural
                      consequence of which was to abuse Plaintiff (§1692d(2));
27
                 n)   Falsely representing or implying that nonpayment of Plaintiffs debt
28                    would result in the seizure, garnishment, attachment, or sale of



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1                     Plaintiffs property or wages, where such action is not lawful or
2                     Defendant did not intend to take such action (§1692e(4));
                 o)   Threatening to take an action against Plaintiff that cannot be legally
3
                      taken or that was not actually intended to be taken, including
4                     threatening (§1692e(5));
5
                 p)   Using unfair or unconscionable means against Plaintiff in connection
                      with an attempt to collect a debt (§1692f));
6                q)    Threatening that the failure by Plaintiff to pay Plaintiffs consumer
7                     debt will result in an accusation that Plaintiff had committed a crime,
                      where such accusation is false (Cal Civ Code §1788.10(b));
8
                 r)   Communicating, or threatening to communicate to a third party the
9                     fact that Plaintiff has engaged in conduct, other than the failure to
                      pay a consumer debt, which Defendant knew or had reason to know
10
                      would defame the debtor (Cal Civ Code §1788.10(c));
11               s)   Threatening Plaintiff to sell or assign Plaintiffs obligation to another
12                    person, and threatening that the result of such sale or assignment
                      would be that Plaintiff would lose a defense to the consumer debt
13
                      (Cal Civ Code §1788.10(d));
14               t)   Threatening Plaintiff that nonpayment of Plaintiffs debt may result in
                      the arrest of Plaintiff or the seizure, garnishment, attachment or sale
15
                      of any property or the garnishment or attachment of wages of
16                    Plaintiff, where such action was not in fact contemplated by the debt
17
                      collector and permitted by the law (Cal Civ Code §1788.10(e));
                 u)   Falsely representing that Plaintiffs debt may be increased by the
18                    addition of attorney's fees, investigation fees, service fees, finance
19                    charges, or other charges, where, in fact, such fees or charges could
                      not legally have been added to the existing obligation (Cal Civ Code
20
                      §1788.13(e));
21               v)   Falsely representing that information concerning Plaintiffs failure or
22
                      alleged failure to pay a consumer debt has been or is about to be
                      referred to a consumer reporting agency (Cal Civ Code §1788.13(f));
23               w)   Falsely representing the true nature of the business or services being
24                    rendered by Defendant (Cal Civ Code §1788.13(i)); and
                 x)   Falsely representing that a legal proceeding has been, is about to be,
25
                      or will be instituted unless payment of a consumer debt is made (Cal
26                    Civ Code §1788.13(j)).
27
           18.        Defendant Joplin as owner of Defendant CSC is directly responsible
28
     for Defendant CSC’s violations.


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1          19.    Defendant CSC’s aforementioned violations of the FDCPA and
2
     RFDCPA also constitute an intentional intrusion into Plaintiff’s private places
3

4    and into private matters of Plaintiff’s life, conducted in a manner highly offensive
5
     to a reasonable person. Plaintiff had a subjective expectation of privacy that was
6

7    objectively reasonable under the circumstances.
8
           18.    Defendant CSC’s aforementioned disclosure of facts regarding
9
     Plaintiff’s debt to third parties constitutes a public disclosure of a private fact not
10

11   of legitimate public concern. Defendant’s disclosures were highly offensive to a
12
     reasonable person.
13

14          19.   As a result of the above violations of the FDCPA, RFDCPA and
15
     invasion of privacy, Plaintiff suffered and continues to suffer injury to Plaintiff’s
16

17
     feelings, personal humiliation, embarrassment, mental anguish and emotional

18   distress, and Defendants is liable to Plaintiff for Plaintiff’s actual damages,
19
     statutory damages, and costs and attorney’s fees.
20

21                        COUNT I: VIOLATION OF FAIR DEBT
22                          COLLECTION PRACTICES ACT
23
           20.    Plaintiff reincorporates by reference all of the preceding paragraphs.
24

25                                PRAYER FOR RELIEF
26
           WHEREFORE, Plaintiff respectfully prays that judgment be entered
27
     against the Defendants for the following:
28




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1                A.     Declaratory judgment that Defendants’ conduct
2
                 violated the FDCPA;
3
                 B.     Actual damages;
4
                 C.     Statutory damages;
5
                 D.     Costs and reasonable attorney’s fees; and,
6
                 E.     For such other and further relief as may be just and proper.
7

8                      COUNT II: VIOLATION OF ROSENTHAL
9
                      FAIR DEBT COLLECTION PRACTICES ACT

10         21.   Plaintiff reincorporates by reference all of the preceding paragraphs.
11
           22.   To the extent that Defendants’ actions, counted above, violated the
12

13   RFDCPA, those actions were done knowingly and willfully
14
                                PRAYER FOR RELIEF
15

16         WHEREFORE, Plaintiff respectfully prays that judgment be entered
17
     against the Defendants for the following:
18
                 A.     Declaratory judgment that Defendants’ conduct
19
                 violated the RFDCPA;
20
                 B.     Actual damages;
21
                 C.     Statutory damages for willful and negligent violations;
22
                 D.     Costs and reasonable attorney’s fees,
23
                 E.     For such other and further relief as may be just and proper.
24

25   COUNT III: COMMON LAW INVASION OF PRIVACY BY INTRUSION
     AND INVASION OF PRIVACY BY PUBLICATION OF PRIVATE FACTS
26

27         23.   Plaintiff reincorporates by reference all of the preceding paragraphs.
28
                                PRAYER FOR RELIEF


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1          WHEREFORE, Plaintiff respectfully prays that judgment be entered
2
     against the Defendants for the following:
3

4                A.     Actual damages
5                B.     Punitive Damages; and,
6                C.     For such other and further relief as may be just and proper.
7

8
               PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

9                Respectfully submitted this 27th day of September, 2010.
10
                                         By: /s Todd M. Friedman_________
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